                         Case 2:13-cv-00193 Document 775-25 Filed on 11/19/14 in TXSD Page 1 of 2
    From                                    Peters Joe
    To                                      Bodisch        Robert

    Sent                                    9182013         113027        AM
    Subject                                 RE     photo    Id   for   voters




I   talked        to Clint earlier this             morning He said he would                get       with   the county        clerk   who was asking     him

about        it   and they will             call    the    SOS to be sure they get on the SOS                     list   for   mobile deployment


Joe Peters
Assistant           Director

Texas Department                       of   Public Safety

Driver       License          Division

PO Box 4087
Austin            TX 78773
Office         512®424®5599

joe peterspdps texas gov




From Bodisch                 Robert

Sent Tuesday                 September 17 2013               1200 PM
To Peters Joe
Subject           Re photo Id for voters


Can you call him and let him know


Robert J Bodisch

Assistant DirectorChief                     of Staff
                                                                                                                                            2:13-cv-193
                                                                                                                                                            exhibitsticker.com
Texas Homeland                    Security
                                                                                                                                            09/02/2014
TexasDept of Public                      Safety

5124242368 w                                                                                                                               DEF1460
robertbodischdpstexasgov




On Sep 17 2013                    at   1149 Peters Joe <JoePetersdpstexas gov> wrote


Sounds            like   a   good        plan to      me         Once we        are set up to   hit   the trail   we will      coordinate with Clint



From Bodisch                 Robert

Sent Tuesday                 September 17 2013               1121 AM
To Peters Joe
Subject           photo      Id   for voters




Maybe we could dispatch                      a Mobile        Team when they         are ready     We will    need   the Sheriff    or County Elections

Administrator            to set        everything     up so       we could come in and spend 12 days and then move on to the next location


                                                                                                                                                                         TEX0507053
                   Case 2:13-cv-00193 Document 775-25 Filed on 11/19/14 in TXSD Page 2 of 2
Robert        J Bodisch
Assistant          DirectorChief
Texas Homeland Security
Texas Department of Public Safety
P 0 Box 4087
Austin
5124242368
robertbodiscluadpstexasgov
robertbodischsleadhssgovgov
<image001jpg>



From McCraw            Steven
Sent Tuesday           September 17 2013           851 AM
To clint mcdonald
Cc Bodisch Robert
Subject       RE   photo     Id   for voters




Clint   Duke    will   follow     up with you on    this   to   ensure   Terrell   County is   not   overlooked   Thanks      Steve



From clint mcdonald               ma iltotcso222yahoocom
Sent Tuesday           September 17 2013           849 AM
To McCraw Steven
Cc tcso222yahoocom
Subject       photo    Id   for voters




Steve

Quick question          not sure      if   Joe will handle this through        DL or not but for the people       here in Terrell County will     there

be a time and or place here for people                to    go who do not have a DL to get a photo ID             to   vote    Our nearest   DL office
is   in Ft   Stockton       64 miles away

See you soon in San Diego

Thanks for all you do

God Bless
Clint




                                                                                                                                                  TEX0507054
